               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                       1:23-cv-00332-MR-WCM

STATE FARM LIFE                         )
INSURANCE COMPANY,                      )
                                        )
             Plaintiff,                 )
                                        )                   ORDER
      v.                                )
                                        )
SHARON ROGERS;                          )
EMILY HARVEY; and                       )
KYLE ROGERS,                            )
                                        )
           Defendants.                  )
_________________________________

      This matter is before the Court on a “Motion to Deposit Sum of Money”

(the “Motion,” Doc. 31), filed by State Farm Life Insurance Company

(“Plaintiff”).

      On November 15, 2023, Plaintiff filed an Interpleader Complaint against

Sharon Rogers, Emily Harvey, and Kyle Rogers (collectively, “Claimants”),

seeking to resolve competing claims to the proceeds of a life insurance policy

number LF-0274-5632 (the “Policy”). Doc. 1.1



1 Plaintiff states in its Complaint that this Court has original jurisdiction over this

action pursuant to 28 U.S.C. § 1335 (i.e., statutory interpleader). Doc. 1 at ¶ 5.
Statutory interpleader requires “[t]wo or more adverse claimants, of diverse
citizenship….” 28 U.S.C. § 1335(a)(1). Here, it appears that all Claimants are citizens
of North Carolina. See Doc. 1. at ¶¶ 2-4. The Complaint also asserts, however, that
Plaintiff and Claimants are of diverse citizenship and indicates that the amount in

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      Subsequently, Claimants answered and filed various crossclaims, and a

Pretrial Order and Case Management Plan was entered.

      On December 2, 2024, Plaintiff filed the Motion. Doc. 31. Plaintiff admits

that it owes $152,000.00, plus applicable interest, under the Policy and states

that it is ready and willing to pay this amount to the proper beneficiary or

beneficiaries, as determined by the Court. Id. Plaintiff additionally states that

none of the Claimants object to Plaintiff’s proposed deposit. Id.

      For the reasons stated therein, and for good cause shown, the Motion will

be allowed.

       IT IS THEREFORE ORDERED THAT:

      1. Plaintiff’s Motion to Deposit Sum of Money (Doc. 31) is GRANTED.

      2. Plaintiff is DIRECTED to tender funds in the amount of $152,000.00,

          plus applicable interest, to the Clerk of this Court, within fourteen

          (14) days of the entry of this Order.

      3. The Clerk is respectfully directed to deposit these funds, which shall

          be deemed Disputed Ownership Funds in accordance with Local Civil
                                     Signed: December 6, 2024

          Rule 67.1.




controversy exceeds $75,000. Doc. 1 at ¶¶ 6, 8; see also Doc. 2 (Plaintiff’s Citizenship
Disclosure); Docs. 23, 24, 25 (Claimants’ Citizenship Disclosures).

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